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                               #:19129

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 10
                                   UNITED STATES DISTRICT COURT
 11
                                  CENTRAL DISTRICT OF CALIFORNIA
 12
       MOOG INC.,
 13                                               CASE NO. 2:22-cv-09094-GW-MAR
                        Plaintiff,
 14
                              v                   [PROPOSED] ORDER GRANTING
 15                                               JOINT STIPULATION
       SKYRYSE, INC., ROBERT ALIN                 REGARDING DISMISSAL
 16    PILKINGTON, MISOOK KIM, and
 17    DOES NOS. 1-50,
                        Defendants.
 18
 19
       SKYRYSE, INC.,
 20
                        Counterclaimant,
 21
                              v
 22    MOOG INC.,
 23                     Counterclaim-Defendant.
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      CASE NO. 2:22-cv-09094-GW-MAR                                [PROPOSED] ORDER GRANTING
                                                                            JOINT STIPULATION
                                                                                             .
Case 2:22-cv-09094-GW-MAR Document 638-1 Filed 10/02/23 Page 2 of 2 Page ID
                               #:19130

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               The Court, having reviewed the stipulation submitted concurrently herewith,
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       and good cause appearing therefore, hereby ORDERS THAT:
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           1. All Parties’ claims and counterclaims in the above-captioned action are
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               dismissed with prejudice.
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           2. Each party shall bear its own attorneys’ fees, costs, and expenses relating to
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               this action, unless otherwise mandated by the Parties’ agreement.
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       IT IS SO ORDERED.
  9
 10     Dated: October _____, 2023                    By: ____________________________
 11                                                   The Honorable George H. Wu
                                                      United States District Judge
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      CASE NO. 2:22-cv-09094-GW-MAR                                      [PROPOSED] ORDER GRANTING
                                                  2                               JOINT STIPULATION
